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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                         ORDER GRANTING JOINT MOTION TO
                                                  INTERVENE AND DENYING MOTION
       vs.                                          TO PREVENT PRODUCTION OF
                                                        SEIZED DOCUMENTS

                                                      SEIZED REGARDING PENDING
                                                       Case No. 2:18-cr-00365-JNP-BCW
                                                            DISCOVERY      ISSUES
JACOB KINGSTON, ISAIAH KINGSTON,
and LEV DERMEN,                                                Judge Jill N. Parrish

                                                           Magistrate Brooke C. Wells
             Defendant.
                                                                       Ma




       This matter was referred to the undersigned by Judge Jill N. Parrish pursuant to 28 U.S.C

636(b)(1)(A).1 This court held a Status Conference in this matter on January 16, 2019, to

address the Intervenors’ Joint Motion to Intervene for Limited Purpose of Opposing Disclosure

of Documents and Motion to Stay Production of Seized Documents2 as well as Intervenors’ Joint

Motion to Prevent Production of Seized Documents.3 The motion specifically seeks stay of

discovery in order to protect disclosure of about 12,000 documents the intervenors claim are

proprietary business records and/or protected by attorney-client privilege and work-product.

The court GRANTS the motion to intervene and DENIES the Motion to Prevent Production of


1
  ECF No. 59.
2
  ECF No. 127. Both ECF No. 127 and 127-1 were filed under seal. However, at the hearing the
intervenors consented to unseal the motions. Thus the hearing and this order are not sealed.
3
  ECF No. 127-1.
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Seized Documents.

                                        BACKGROUND

       After hearing argument on motions filed by all Defendants requesting prompt production

of discovery, on December 7, 2018, this court entered an order, requiring the government to

produce both “non-Attachment B relevant ESI” and “Attachment B relevant” materials to all

defendants by this Friday, January 18, 2019.4 The order specifies the government’s production

of both classes of documents is subject to the Clawback Discovery Protocol5 (Protocol) and

ordered all defendants to execute the Protocol by December 21, 2018.

       Recognizing the government seized materials which are privileged or potentially

privileged, the Protocol contains the following requirements with regard to production of

privileged information:

       Given that these unfiltered Attachment B relevant materials may contain privileged
       information, attorneys for the defendants agree to carefully consider whether any of the
       unfiltered relevant material they or their clients review is subject to any evidentiary
       privilege, including but not limited to an attorney client privilege or work product
       protection. Upon discovering any item in the unfiltered relevant materials that may be
       subject to an evidentiary privilege, the defendants agree to cease reviewing that item. If
       defendants wish to review the potentially-privileged item further or use the potentially-
       privileged item in any way, they agree to take reasonable steps to identify the privilege
       holder3 and provide notice and a reasonable opportunity to litigate any assertion of
       privilege by the privilege holder.6

Intervenors argue there are approximately 12,000 documents in the government’s upcoming

discovery production that are proprietary business records, and/or protected by the attorney-

client privilege or work-product doctrine. Intervenors also argue these documents are not

relevant to the parties’ claims or defenses. Accordingly, they request the court grant their motion

to intervene, and also stay the production of these 12,000 documents.


4
  ECF No. 108.
5
  See ECF No. 98-1.
6
  See ¶7 of ECF No. 98-1.
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                                             DISCUSSION

        Federal law does not explicitly provide for intervention in criminal contexts. Under the

Federal Rules of Civil Procedure a party may intervene if they “claim[] an interest relating to the

property or transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its interest,

unless existing parties adequately represent that interest.”7 Following the approach in the

Federal Rules of Civil Procedure, the Tenth Circuit has held that “persons affected by the

disclosure of allegedly privileged materials may intervene in pending criminal proceedings and

seek protective orders.”8 Here, the intervenors have a significantly protectable interest in the

documents seized from their businesses. Accordingly, the court GRANTS the intervenors’

motion to intervene.

        The court next considers the intervenors’ Motion to Prevent Production of Seized

Documents.9 The gist of the intervenors’ argument is that the government has failed to review the

documents at issue for relevancy under Rule 16 and/or removed privileged, proprietary or

confidential materials from its proposed production scheduled on January 18, 2019. It is clear the

privilege has not been waived. The intervenors adamantly request that the government be

ordered to not produce any of the privileged materials seized from the intervenors on February

10, 2016.

        The court sympathizes with the intervenors’ position. However, it also recognizes the

need to balance all the issues at stake. Rule 16 of the Federal Rules of Civil Procedure, requires

that the government:



7
  Fed. R. Civ. P. 24(a).
8
  U.S.A v. Feeney, 641 F.2d 821, 824 (10th Cir. 1981).
9
  See ECF No. 127-1.
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                permit the defendant to inspect and to copy photograph books, papers, documents,
                data, photographs, tangible objects, buildings or places, or copies of portions of
                any of these items, if the item is within the government’s possession, custody, and
                control and:

                        (i)     the item is material to preparing the defense[.]

At this time, due to the conditions of the search warrant, the government lawyers have not had

access to the 12,000 documents at issue. Thus, the government does not know for certainty

whether any of the 12,000 documents are “material” to any of the defendants’ defense. Taking

into consideration the possibility of having to produce privileged materials, the government and

defendants executed the Protocol. The Protocol expressly provides that if the defendants stumble

upon any unfiltered relevant material that may be subject to an evidentiary privilege, including

attorney-client privilege, they are to cease reviewing the item. Moreover, if any of the

defendants wish to review or use any potentially-privileged item they are to 1) identify the

privilege holder and 2) provide notice and opportunity to litigate any assertion to privilege by the

privilege holder.10 The court believes the terms of the Protocol protect the rights and addresses

the valid concerns raised by the intervenors in their motion to prevent production. At this time, it

is unknown whether any of the defendants will wish to review and/or use any of the 12,000

intervenors’ privileged documents. Thus, the issue of staying the production outright is not ripe.

        Accordingly, the court GRANTS the Motion to Intervene [ECF No. 127] and DENIES

the Motion to Prevent Production of Seized Documents. [ECF No. 127-1]. The government is to

produce all discovery by January 18, 2019.

        IT IS SO ORDERED.


        DATED this 17 January 2019.

10
  None of the defendants objected to the intervenors becoming parties to the Protocol. Any intervenor
who wishes to become a party to the Protocol must contact the government and execute the same by
Friday, January 25, 2019.
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                              Brooke C. Wells
                              United States Magistrate Judge
